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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AFSCME LOCAL 590 HEALTH AND    :                CIVIL ACTION
WELFARE FUND by and through its:
Board of Trustees, YVONNE HARRIS,
                               :
Trustee, JALIL M. SHAFI, Trustee,
                               :
LLOYD FRANK, Trustee and       :
ANGELA CABRERA, Trustee        :
                               :
     v.                        :
                               :
O’NEILL CONSULTING CORPORATION :                NO. 21-2116


                                      ORDER


      NOW, this 8th day of December, 2021, upon consideration of the Joint Motion for

Voluntary Dismissal (Document No. 13), it is ORDERED that the motion is GRANTED.

      IT IS FURTHER ORDERED that this action is DISMISSED WITH PREJUDICE.



                                      /s/ TIMOTHY J. SAVAGE J.
